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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

JAMES A. CARSON, JR.,                      :
              Plaintiff,                   :      No. 1:17-cv-01263-YK
                                           :
                  v.                       :
                                           :      CIVIL ACTION
DETECTIVE JESSICA M. AURAND,               :
in her Individual Capacity, et al.         :
                   Defendant.              :      JURY TRIAL DEMANDED
                                           :

                                    ORDER

      AND NOW, this ___ day of ________, 2018, upon consideration of

Defendant, Detective Jessica Aurand’s Unopposed Motion for Leave of Court to

File Documents Under Seal Pursuant to Fed.R.Civ.P. 5.2(d), and any response

thereto, it is hereby ORDERED and DECREED that said Motion is GRANTED.

      Defendant, Detective Jessica Aurand, may file as exhibits to her anticipated

Motion for Summary Judgment any Confidential Information under seal, and the

Clerk is hereby DIRECTED to accept and maintain such filings under seal.



                                     BY THE COURT:


                                     _______________________________
                                     The Honorable Yvette Kane
                                     United States District Court Judge
